
The People of the State of New York, Respondent,
againstHector Morales, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (John H. Wilson, J.), rendered November 4, 2013, convicting him, upon a plea of guilty, of driving while intoxicated per se, and sentencing him, inter alia, to a fine of $1,000.




Per Curiam.
Judgment of conviction (John H. Wilson, J.) rendered, November 4, 2013, affirmed. 
We are unpersuaded that the bargained-for sentence imposed upon defendant's conviction for driving while intoxicated per se (see Vehicle and Traffic Law § 1192[2]), including payment of a $1,000 fine, was unduly harsh or excessive, and find no extraordinary circumstances warranting a reduction of the sentence in the interest of justice (see People v Fair, 33 AD3d 558, 558 [2006], lv denied 8 NY3d 945 [2007]). The defendant was sentenced in accordance with his bargained-for plea and should not now "be heard to complain that he received what he bargained for" (id. at 558, quoting People v Chambers, 123 AD2d 270 [1986]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concurI concurI concur
Decision Date: December 18, 2017










